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                                      EXHIBIT A



                                Originating       Originating      SDWV – MDL
         Plaintiffs              District          Case No.       Member Case No.

                              Missouri Eastern    4:13-cv-1785     2:13-cv-23468
Martha Jean Holmes
Kathleen Ann Illig


                                Originating       Originating      SDWV – MDL
         Plaintiffs              District          Case No.       Member Case No.

                              Oklahoma Western    5:13-cv-00843    2:13-cv-23622
Patricia Bridgewater
Mindy Demaris
Shirley Garrison
Renee Gillespie
Andrea Goeyns
Brook Gomez
Teresa Gomez
Norma Gossman
Patti Graham
Kathy Griffith
Neena Hallock
Kelly Hannah
Sherry Hansch
Thomas Hansch
Nicole Harlow
Jason Harlow
Judith Harriman
Marcie Harrington
Vicki Harris
Tammy Harrod
Olivia Headrick
Shelley Healy
John David Healy
Gloria Heckathorn
Darrell L. Heckathorn
Barbara Heinrich
Natalie Hensley
Katherine Herring-Patterson
Donald Patterson
Leonor Heyns
Dorothy Hill
Annabeth Hodge
Donnis Hodges
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                           Originating        Originating     SDWV – MDL
        Plaintiffs          District           Case No.      Member Case No.

                         Oklahoma Western    5:13-cv-00843    2:13-cv-23622
Gerald Hodges
Taciana Holt
Justin L. Holt
Jeanette Horton
Deborah Houchins
Marian Houston
Victoria Howard
Tara Hughes-Lockett
Sandra Hull
Amy Hyatt
Gloria Hyde
Ruth Ingram
Mary Iwanaga
Karen Jackson
Elizabeth Jackson
Lynette James
Betty James
Angela Jaworski
Teresa Jayanty
